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                                   UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF SOUTH CAROLINA
IN RE:                                                   CASE NO: 19-03201-JW

WALTER FRANK PIGG                                        (CHAPTER 13)



                            Debtor

           NOTICE OF MOTION TO DISMISS CHAPTER 13 CASE AND POSSIBLE HEARING

    James M. Wyman, the Chapter 13 Trustee, has filed papers with the court to dismiss this Chapter 13 case .

     Your rights may be affected. You should read these papers carefully and discuss them with your attorney ,
if you have one in this bankruptcy case . (If you do not have an attorney, you may wish to consult one.)

    If you do not want the court to dismiss this Chapter 13 case , or if you want the court to consider your views on
the motion to dismiss, then on or before twenty-one (21) days from the date of service, you or your attorney must:

    File with the court a written response explaining your position at:

                  U.S. Bankruptcy Courthouse
                  J. Bratton Davis
                  1100 Laurel Street
                  Columbia, SC 29201-2423

    If you mail your response to the court for filing , you must mail it early enough so the court will receive it on or
before the date stated above.

    You must also send a copy to:

                  James M. Wyman
                  Office of the Chapter 13 Trustee
                  P.O. Box 997
                  Mt. Pleasant, SC 29465-0997


    If a response is filed, a hearing will be held on September 19 , 2019 at 10:00 am at 145 King Street, Room 225,
Charleston, SC 29401.
    If you or your attorney do not take these steps , the court may decide that you do not oppose the relief sought in
the motion and may enter an order granting that relief .

Dated: August 15, 2019


                                                                 /s/Russell Jackson, II
                                                                 PO Box 997
                                                                 Mt. Pleasant, SC 29465-0997
                                                                 Phone: (843) 388-9844
                                                                 Fax: (843) 388-9877
                                                                 Email: 13office@charleston13 .com
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                             UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF SOUTH CAROLINA

IN RE:                                         CASE NO: 19-03201-JW

WALTER FRANK PIGG                              (CHAPTER 13)

                                                           MOTION TO DISMISS CASE

                               Debtor


   The Trustee hereby requests the dismissal of the above case for the following reason( s):

   The Debtor failed to make timely payments to the Trustee.

    Debtor is past due two payments as of August 13, 2019. No funds have been received
    from this Debtor.
    Trustee asserts that the above has caused delay which could be prejudicial to creditors unless
timely cured, and the Trustee asks for dismissal. Trustee further requests that if the above issues
are cured, but the plan is not confirmable for any other reason, because additional documents,
trustee payments, or plan are required, that the court consider dismissal of the case at
confirmation hearing, pursuant to 11 U.S.C. §1307(c).


Dated: August 15, 2019                                /s/James M. Wyman
                                                      Chapter 13 Trustee
                                                      PO Box 997
                                                      Mt. Pleasant, SC 29465-0997
                                                      Phone: (843) 388-9844
                                                      Fax: (843) 388-9877
                                                      Email: 13office@charleston13.com
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                                CERTIFICATE OF SERVICE

The undersigned states that he/she served the Trustee's Motion to Dismiss on the on the parties
listed below by mailing to them, on this date, copies of the motion, first class, postage prepaid,
and addressed as follows:

WALTER FRANK PIGG                                  Meredith Law Firm LLC
PO BOX 805                                         Elizabeth R. Heilig
NORTH MYRTLE BEACH, SC 29597                       2411 N OAK STREET SUITE 107
                                                   MYRTLE BEACH, SC 29577-0000




Date: August 15, 2019                                  /s/Russell Jackson, II
                                                       PO Box 997
                                                       Mt. Pleasant, SC 29465-0997
                                                       Phone: (843) 388-9844
                                                       Fax: (843) 388-9877
                                                       Email: 13office@charleston13.com
